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 5
                                   UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 7   NORTHWEST ADMINISTRATORS.
     INC.,                                                        NO.
 8
                                         Plaintiff.
 9
                                                                  COMPLAINT TO COMPEL AUDIT
10               V.



11   J M R TRUCKING INC., A Washington
     corporation.
12
                                         Defendant.
13


14


f5
                 Plaintiff, Northwest Administrators, Inc.. is an organization incorporated
16

     under the laws of the State of Washington, with its principal place of business in
f7

     King County, and is the authorized administrative agency for and the assignee of
18

19   the Western Conference of Teamsters Pension Trust Fund (hereinafter "Trust").

20

21              The Western Conference of Teamsters Pension Trust Fund is an

22
     unincorporated association operating as a Trust Fund pursuant to Section 302 of
23

24

25   COMPLAINT TO COMPEL AUDIT - 1
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                                                                         Reid, McCarthy, Ballew & Leahy, L.L.P.
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                                                                         100 WEST I-1ARRISON STREET • NORTH TOWER, SUiTE 300
                                                                                      SEATTLE, WASHINGTON 98119
                                                                              TELEPHONE: (206) ZS5-0464 • FAX: (206) 285-8925
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     the Labor Management Relations Act of 1947, as amended, to provide retirement
 1

 2   benefits to eligible participants.

 3                                                                 III.

 4               This Court has jurisdiction over the subject matter of this action under
 5
     Section 502(e)(l) and (f) of the Employee Retirement Income Security Act of 1974
 6
     ("ERISA"), 29 U.S.C. §1132(e)(l) and (f) and under §301(a) of the Taft-Hartiey Act,
 7
     29U.S.C. §185(a).
 8
                                                                   IV.
 9

10               Venue is proper in this District under Section 502(e)(2) of ERISA. 29 U.S.C.

11   §1132(e)(2). because the Plaintiff Trust Fund is administered in this District.

12                                                                 V.


13
                 Defendant is a Washington corporation.
14
                                                                   VI.
15
                 Defendant is bound to a collective bargaining agreement with Local 174 of
16
     the International Brotherhood of Teamsters (hereinafter "Local"), under which the
17

     Defendant is required to promptly and fully report for and pay monthly contributions
16

19   to the Trust at specific rates for each hour of compensation (including vacations,

20   holidays, overtime and sick leave) said Defendant pays to its employees who are

21   members of the bargaining unit represented by the Local (such bargaining unit
22
     members are any of the Defendant's part time or full time employees who perform
23

24

25   COMPLAINT TO COMPEL AUDIT - 2
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                                                                          Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                                          ATTORNEYS AT LAW
                                                                          iOO WEST HARRISON STREET • NORTi-1 TOWER, SUITE 300
                                                                                     SEATTLE, WASHINGTON 98) 19
                                                                               TELEPHONE: (206) 285-0464 • FAX: (206)285-8^25
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     any work task covered by the Defendant's labor contract with the Local, whether or
 1

 2   not those employees ever actually join the Local).

 3                                                                    VII.

 4                Defendant accepted the Trust's Agreement & Declaration Agreement ("Trust
 5
     Agreement") which provides in part
 6
                              Each Employer shall promptly furnish to the Trustees or
 7                            their authorized representatives on demand any and all
                              records of his past or present Employees concerning the
 8                            classification of such Employees, their names, Social
                              Security numbers, amount of wages paid and hours
 9
                              worked or paid for. and any other payroll records and
10                            information the Trustees may require in connection with
                              the administration of the Trust Fund. and for no other
II                            purpose. The Trustees or their authorized
                              representatives may examine any books and records of
12                            each employer, which the Employer is required to
                              furnish to the Trustees on demand whenever such
13
                              examination is deemed necessary or desirable by the
14                            Trustees in the proper administration of the Trust. If it
                              becomes necessary for the trustees to retain legal
15                            counsel to compel an Employer to furnish to, or permit
                              the examination of books, or records or information by,
16                            the Trustees or their representatives, the Employer shall
                              reimburse the Trust fund for all reasonable attorney's
17
                              fees and court costs incurred by the Trust Fund in
                              connection therewith, whether or not legal proceedings
16
                              were instituted and whether or not such examination
19                            disclosed that the Employer has failed to make
                              appropriate or timely Employer Contributions to the Trust
20                            Fund.

21                                                                    VliL
22
                 The Trustees of the Western Conference of Teamsters Pension Trust deem
23
     it both necessary and advisabie to the proper administration of the Trust that their
24

25   COMPLAINT TO COMPEL AUDIT - 3
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                                                                             Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                                             ATTORNEYS AT LAW
                                                                             tOO WEST I IARR1SON STREET • NORTH TOWER, SUITE 300
                                                                                          SKATTLH, WASHINGTON 9«119
                                                                                  TELEPHONE: (206) 285-C464 • FAX: (206)285-8925
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     authorized representatives examine the Defendant's books and records for the
 I

2    inclusive period June 1, 2014 through the Present Date to determine if the

 3   Defendant previously reported for and paid to the Trust all of the amounts due for

 4   the Defendant's employment of members of the bargaining unit represented by the
 5
     Trust for said period.
 6
                                                                    IX.
 7
                 Despite notification to the Defendant of the Trustees' desire to conduct an
 8
     audit for the period June 1, 2014 through the Present Date, and demands made
 9

10   upon the Defendant on the Trust's behalf for access to Defendant's records for an

11   examination of them for that period, to date the Defendant has failed and refused to

12   make its records available for the thorough examination the Trustees deem

13
     necessary and advisable to the proper administration of the Trust.
14
                 WHEREFORE, plaintiff, on the Trust's behalf, prays the court as follows:
15
                 1. That the Court enter an Order Compelling Audit under which
!6
     Defendant shall be directed by the Court, within a specified time, to make available
17
     to the authorized representatives of the Trustees of the Trust:
18

19
                             A. All certified payroll associated with PLA projects due for
20                                       pension contributions into the Western Conference of
                                         Teamsters Pension Trust Fund for the time period 6/21/14 -
21                                       Present.

22               2. Afford to the authorized representatives of the Trustees of the Trusts

23
     both ample time and opportunity to examine all such materials of Defendant at such
24

25   COMPLAINT TO COMPEL AUDIT - 4
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                                                                          Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                                          ATTORNEYS AT LAW
                                                                          100 WEST I-EARRISON STREET • NORTH TOWER, SUITE 300
                                                                                       SEATTLE, WASHINGTON 981)9
                                                                               TELEPHONE: (206) 285-0-164 • FAX: (206)285-8925

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     time and at such place as shall be convenient to the Trustees' authorized
 1

2    representatives.

3                3. For judgment against the Defendant for:

4                            A. Ail of the Plaintiff's attorney's fees incurred in gaining auditor

 5
                                         access to Defendant's records;
6
                             B. A!l of the Plaintiff's costs incurred in gaining auditor access to
 7
                                        defendant's records, and
8
                             C. For such other and further relief as the Court may deem just
9

10                                      and equitable.

II

12
                 DATED this /7/%<day of October. 2018.
13
                                                                   REID. MCCARTHY, BALi^EW & LEAHY,
14
                                                                   L.L.P.

15

16                                                                 Russell J. Reid,^BA#2560
                                                                   Attorney for Plail
17

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25   COMPLAINT TO COMPEL AUDIT - 5
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                                                                              Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                                              ATTOKN^YSATLAW
                                                                              100 WEST HARRiSON STREET • NORTH TOWER, SUITE 300
                                                                                         SEATTLE, WASliINOTON 98119
                                                                                   TRLRPHONt;: (206) 28^0464 • PAX: (206) 285-W25

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